Case 3:16-cr-00411-VC Document 116-4 Filed 09/19/17 Page 1 of 3




                    Exhibit 4
                                Case 3:16-cr-00411-VC Document 116-4 Filed 09/19/17 Page 2 of 3
(23036 unread) - naummorgovsky@yahoo.com - Yahoo Mail                                                                                                                      9/19/17, 7'00 AM


    Home         Mail      Flickr     Tumblr          News       Sports         Finance         Entertainment            Lifestyle       Answers       Groups   Mobile     More


                                       All        Naum Morgovsky, search your mailbox                                     Search Mail           Search Web          Home          N



                                   josephus                    Re: First Time International Defense & Security Solutions, Inc. at the SPIE-DSS

     Compose                             Search results                               Archive           Move               Delete           More


  Inbox (9999+)                         Re: First Time International Defense & Security Solutions, I…                                        People

  Drafts (237)

  Sent                                  Naum Morgovsky <naummorgovsky@yahoo.com>                                                     04/14/15 at 10:46 AM
                                        To Josephus van Seeters
  Archive
                                        Hi Jos,
  Spam (42)
                                        Thank you for the invitation, but I don't plan to be at the show in Baltimore.
  Trash
                                        As to the modules you quoted to me, here is my dilemma: they use pulse laser diodes which sell for no more than
  Smart Views                           $150 each plus the receiver which costs another $300 or so. I can develop a module based on a much more powerful
                                        and expensive miniature erbium glass laser for the price you are charging for the smallest module based a laser
                                        diode. I therefore don't see any economic benefit of developing any products which would be based on such
    Important                           overpriced components, especially those which can be sold in relatively high quantities which you require to slightly
                                        lower the price.
    Unread
                                        Thank you, Naum
    Starred
    People
    Social                              From: Josephus van Seeters <jos.vanseeters@idssi.com>
                                        To: Naum Morgovsky <naummorgovsky@yahoo.com>
    Shopping
                                        Cc: Marketing <Marketing@idssi.com>
    Travel                              Sent: Monday, April 13, 2015 5:16 PM
    Finance                             Subject: First Time International Defense & Security Solutions, Inc. at the SPIE-DSS
    silverman
                                        Hello Naum,
    mseymour
    bartfield                           Although, this is probably not the show you typically go to, I still wanted to you know
    montgomery                          it would be a true pleasure to see you at
    seymour                             our very first presence at the SPIE.DSS in Baltimore, at booth 1130.
    rosas
    cheo                                Key technologies we are high-lighting this year:
  Folders
                                                  -     Complete range of Laser Range Finders with range capability from a
    Drafts                                        few meters up to 50 km
    Notes
                                                  -          1064nm Designators with pulse energy between 35 mJ up and 120 mJ
    Sent Messages
    untitled                                      -     Single aperture HD Color-SWIR camera – see product demonstration
                                                  announcement next.
  Sponsored
                                                  Product Demonstration RedKite at the SPIE-DSS:
                                                  Hardware demonstration of combined simultaneous HD color – SWIR imaging with
                                                  separated CMOS and InGasAs focal plane arrays
                                                  in the waveband from 460 nm to 1700 nm through one common zoom optics for sea, land
                                                  and airborne applications.
  Brainy Cars                                     Location: Demo Area
  18 Most Unreliable Cars You                     Demo Date and Time: 21 April 01:30 PM (Tuesday)
  Don't Want To Buy

                                                  -    Also in the IDSS portfolio, but not on display: tripods, pan & tilts and
                                                  non-magnetic north finding.

                                        If you are coming to the SPIE.DSS and like to stop by, please let me know as soon as possible as I
                                        like to be available for you.
                                        In case of in-depth technological questions there will be an opportunity to arrange a meeting with
                                        the manufacturer if desired.


                                        For more details on the SPIE-DSS and exhibition pass registration, please see the following
                                        information:

   Try the new Yahoo Mail



https://mg.mail.yahoo.com/neo/launch?.rand=e8ifq5a4fq64a#909543652                                                                                                                Page 1 of 1
                               Case 3:16-cr-00411-VC Document 116-4 Filed 09/19/17 Page 3 of 3
(23036 unread) - naummorgovsky@yahoo.com - Yahoo Mail                                                                                                                                    9/19/17, 6(58 AM


    Home         Mail       Flickr     Tumblr         News            Sports          Finance            Entertainment              Lifestyle       Answers          Groups   Mobile     More


                                        All        Naum Morgovsky, search your mailbox                                               Search Mail             Search Web           Home          N



                                    josephus                       Re: First Time International Defense & Security Solutions, Inc. at the SPIE-DSS

     Compose                              Search results                                     Archive              Move                Delete           More


  Inbox (9999+)                          Re: First Time International Defense & Security Solutions, I…                                                   People

  Drafts (237)

  Sent                                   Naum Morgovsky <naummorgovsky@yahoo.com>                                                               04/15/15 at 11:01 AM
                                         To Josephus van Seeters
  Archive
                                         Thank you. Good luck with the show.
  Spam (42)                              Naum

  Trash

  Smart Views                            From: Josephus van Seeters <jos.vanseeters@idssi.com>
                                         To: Naum Morgovsky <naummorgovsky@yahoo.com>
    Important
                                         Sent: Tuesday, April 14, 2015 10:51 AM
    Unread                               Subject: RE: First Time International Defense & Security Solutions, Inc. at the SPIE-DSS
    Starred
    People                               Hi Naum,
    Social
                                         I appreciate your honest feedback.
    Shopping
    Travel                               If things chance, I am always open to pick up the discussion where we left oﬀ.
    Finance
    silverman                            Best regards,
                                         Jos
    mseymour
    bartfield
    montgomery
    seymour                              From: Naum Morgovsky [mailto:naummorgovsky@yahoo.com]
    rosas                                Sent: Tuesday, April 14, 2015 1:47 PM
    cheo                                 To: Josephus van Seeters
                                         Subject: Re: First Time International Defense & Security Solutions, Inc. at the SPIE-
  Folders                                DSS
    Drafts
                                         Hi Jos,
    Notes
    Sent Messages
                                         Thank you for the invitation, but I don't plan to be at the show in Baltimore.
    untitled
                                         As to the modules you quoted to me, here is my dilemma: they use pulse laser diodes which sell for no more than $150 each
  Sponsored                              plus the receiver which costs another $300 or so. I can develop a module based on a much more powerful and expensive
                                         miniature erbium glass laser for the price you are charging for the smallest module based a laser diode. I therefore don't see any
                                         economic benefit of developing any products which would be based on such overpriced components, especially those which
                                         can be sold in relatively high quantities which you require to slightly lower the price.


                                         Thank you, Naum
  Bob's Hideout
  Andy Griﬃth Ruined More
  Careers Than Any Show
                                         From: Josephus van Seeters <jos.vanseeters@idssi.com>
                                         To: Naum Morgovsky <naummorgovsky@yahoo.com>
                                         Cc: Marketing <Marketing@idssi.com>
                                         Sent: Monday, April 13, 2015 5:16 PM
                                         Subject: First Time International Defense & Security Solutions, Inc. at the SPIE-DSS

                                         Hello Naum,

                                         Although, this is probably not the show you typically go to, I still wanted to you
                                         know it would be a true pleasure to see you at
                                         our very first presence at the SPIE.DSS in Baltimore, at booth 1130.
   Try the new Yahoo Mail



https://mg.mail.yahoo.com/neo/launch?.rand=e8ifq5a4fq64a#9877916797                                                                                                                             Page 1 of 1
